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AO 470 (Rev. 01/09} Order Scheduling a Detention Hearing

 

UNITED STATES DISTRICT COURT

for the
District of New Jersey

 

United States of America }
v. } Case No, 19-MJ-5644-KMW
RICHARD TOBIN )
)
Defendant ).

ORDER SCHEDULING A DETENTION HEARING

A detention hearing in this case is scheduled as follows:

 

 

 

 

Place: U.S. District Court Courtroom No.: 5¢C
4th & Cooper Streets
Camden, NJ 08701 Date and Time: 11/15/49 12:00 pm

 

 

 

IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United Stafes
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.

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Date: 14/13/2019 fe \ WS
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Judge's signature

Honorable Karen M. Williams, U.S.M.J.

 

 

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